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Exhibit 1 - Signed Filed Settlement Agreement
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DAVID ROGER

District Attorney

CIVIL DIVISION

State Bar No. 002781

By: ROBERT T. WARHOLA

Deputy District Attorney

State Bar No. 004410

500 South Grand Central Pkwy.

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Las Vegas, Nevada 89155-2215

(702) 455-4761

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Attorneys for Defendants
District Attorney David Roger,
County of Clark and Board of
County Commissioners of the
County of Clark

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

GYPSUM RESOURCES, LLC, a Nevada limited
liability company,
Case No: CV-S-05-0583-RCJ (LRL)
Plaintiff,

VS.

CATHERINE CORTEZ MASTO, in her official
capacity as Attorney General of the State of
Nevada and her agents and successors; DAVID
ROGER, in his official capacity as District
Attorney of the County of Clark and his agents
and successors; COUNTY OF CLARK, a
political subdivision of the State of Nevada;
BOARD OF COUNTY COMMISSIONERS OF
THE COUNTY OF CLARK; and DOES 1-75, }
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)

Defendants.

 

STIPULATION AND SETTLEMENT AGREEMENT PURSUANT TO COURT
ORDERED SETTLEMENT CONFERENCE; [PROPOSED] ORDER

This Stipulation and Settlement Agreement ("Agreement") is entered into as of

this 21° day of April, 2010, by and between Gypsum Resources, LLC, a Nevada limited

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liability company ("Gypsum") on the one hand, and the County of Clark, a political
subdivision of the State of Nevada, the Board of Commissioners of the County of Clark and
David Roger, in his official capacity as District Attorney of the County of Clark (collectively
the “County”) on the other. Gypsum and County are collectively referred to in this
Agreement as "the Parties." This Agreement is pursuant to the court imposed Mandatory
Settlement Conference as ordered in the Federal Lawsuit described below. This Agreement
is not an approval of any specific development plan and any such plan must be considered by
the County’s Board of County Commissioners (“BCC”) through the normal Title 30 public
hearing process.

This Agreement is entered into by and between the Parties based on the following

Recitals of Fact:

Recitals of Fact

A. Gypsum owns approximately 2400 acres of real property located on and
around Blue Diamond Hill in Clark County ("the Gypsum Mine Property" or “Property”),
which Property is the subject of the Lawsuits described below. A portion of the Property is
located inside the boundaries of the Red Rock Canyon National Conservation Area
(“RRCNCA”) and a substantial portion of the Property is located outside the boundaries of
the RRCNCA.

B. Senate Bill 358 (the “State law”) was passed by the Nevada Legislature and
signed into law by Governor Kenny Guinn on or about May 19, 2003.

C. On or about May 21, 2003, the County adopted Clark County Ordinance
2914 ("CCO 2914") to expand the Red Rock Design Overlay District ("RROD") and make
other changes to the Clark County Code as set forth in CCO 2914. As a result of the
adoption of CCO 2914, the Gypsum Mine Property was included in the RROD and subjected
to the provisions of CCO 2914,

D. On or about May 10, 2005, Gypsum filed a Complaint for Declaratory and
Injunctive Relief against the County and others, in the action entitled Gypsum Resources,
LLC v. Masto, et al., Case No. CV-S-05-0583-RCJ-LRL in the United States District Court
for the District of Nevada (“Federal Lawsuit”). On or about May 18, 2005, Gypsum filed a

parallel action for Declaratory and Injunctive Relief against the County and others, in the
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action entitled Gypsum Resources, LLC v. State of Nevada, et al., Case No. 05-00614A
(“State Lawsuit”) in the First Judicial District Court of the State of Nevada (The Federal and
State Lawsuits are collectively referred to herein as "the Lawsuits"). In both Lawsuits,
Gypsum sought, inter alia, to invalidate CCO 2914 on numerous grounds.

E, On or about December 7, 2005, the action filed by Gypsum in the First
Judicial District Court of Nevada was stayed while the related Federal case referenced above
was pending.

F. On or about March 27, 2008, the Federal District Court issued its Order
granting in part and denying in part the motions to dismiss that had been filed by the County
and Catherine Cortez Masto, in her capacity as Attorney General of the State of Nevada,
(“State”) also a named defendant in the Federal Lawsuit.

G. Subsequent thereto, Gypsum, the County and the State filed motions for
summary judgment in the Federal Lawsuit. On or about November 24, 2009, the Federal
District Court issued its Order granting in full the motion made by Gypsum as to the State,
thereby voiding the State law. The Federal District Court also granted in part the County
motion on substantive due process grounds and denied in part the County’s motion on equal
protection grounds. The Federal District Court also denied the State’s motion on equal
protection and constitutional grounds and granted the State’s motion as to substantive due
process.

H. As aresult of the Federal District Court’s Orders issued on March 27, 2008
and November 24, 2009, Gypsum's First Cause of Action, for Violation of Equal Protection
remains to be tried, A trial call is scheduled for April 26, 2010 in the Federal Lawsuit, and
trial is scheduled to commence on May 4, 2010.

I. The Parties wish to settle both Lawsuits against the County only, on the
terms set forth in this Agreement.

J. The County and Gypsum were ordered to mandatory settlement
conferences by the Federal District Court and each Party recognizes the costs and risk of
trial, and potential for financial exposure, and wishes to resolve their differences in the
manner and terms described herein.

K. The current law allows for the development of the Property as RU zoning.

Gypsum desires to submit and the County is willing to allow the submittal of an application

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to the BCC pursuant to Chapter 30.20 of the Clark County Code for a Major Project
Development within the Exception Area as shown on Exhibit A attached hereto. This
application shall also include such areas as are needed for easements, rights of way, utilities,
drainage and roadways and other infrastructure needs.

L. Gypsum and County understand that the Property and any exchanged lands
subsequently acquired (as herein defined in paragraph 7 below) require access as part of the
Major Project development.

M. The County and Gypsum recognize that through this Agreement there are no
guarantees, commitments or binding obligations by County to approve a Major Project
application, or to approve any uses or increased densities proposed by Gypsum as part of any
Major Project application and that the County retains discretion regarding any application

submitted by Gypsum as a result of this Agreement.

Terms of Agreement
Now, therefore, it is hereby agreed by and between the Parties:

1. — Recitals

The foregoing Recitals of Fact are true and correct, are incorporated herein, and
form a material part of this Agreement.

2. Adoption of the Amending Ordinance

On March 17, 2010, the BCC introduced an ordinance to amend CCO 2914 by
adding new Section 30.48.312 to the Clark County Code ("the Amending Ordinance"), The |
Amending Ordinance (ORD-0210-10) is scheduled for a public hearing on the BCC’s April
21, 2010 Zoning/Subdivisions/Land Use Agenda. A true and correct copy of the agenda
report and the Amending Ordinance for the April 21, 2010 public hearing is attached to this
Agreement as Exhibit B. It is an express condition precedent to the effectiveness of this
Agreement that the BCC adopt the Amending Ordinance in the form attached to Exhibit B,
or with such clarifying changes to the language of the Amending Ordinance as may be
approved by Gypsum, at or before the April 21, 2010 public hearing ("the Adoption"). If the
Adoption does not occur, this Agreement shall be of no force and effect, and the Parties shall

proceed in the Lawsuits as if this Agreement had never been entered into.

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3, Voluntary Dismissal of the Lawsuits and Release

If the Amending Ordinance is adopted, and within five (5) business days after the
effective date of the Amending Ordinance, Gypsum agrees that it will file voluntary
dismissals of the Lawsuits against the County only, under Fed.R.Civ.Pro. 41(a) and
Nev.R.Civ.Pro. 41(a). The State Lawsuit shall be dismissed with prejudice. Subject to the
Clarifications and limitations set forth in paragraph 4, below, the Federal Lawsuit shall be
dismissed without prejudice. The County agrees to cooperate with Gypsum regarding the
filing of the voluntary dismissals. In connection with its voluntary dismissals of the
Lawsuits, and subject to paragraph 4 below, Gypsum agrees that Gypsum, its successors,
heirs and assigns, fully and forever release, acquit, and forever discharge County, and each
and every one of County’s commissioners, directors, employees, attorneys, agents,
successors, assigns and administrators and all other County representatives, of and from all
claims, actions, suits, causes of action, demands, rights, damages, costs, expenses, losses,
attorney’s fees and compensation whatsoever, at law and in equity, whether known or
unknown, foreseen or unforeseen, which Gypsum has now or which may hereafter accrue,
relating to, or in any way connected with, the events and occurrences as set forth and
described in and which are the subject of the Lawsuits, other than the rights and obligations
arising under this Agreement. This Release by Gypsum is intended as a full and complete
release and discharge of any and all claims that the undersigned may or might have or had by
reason of the incidents or activities alleged in the Lawsuits.

The Parties agree that the Release includes, but is not limited to, any and all
claims for attorneys’ fees and costs Gypsum may have against County arising under 42
U.S.C. § 1988, or any other Federal or State statute or regulation under which Gypsum may
have a claim or interest, whether that claim or interest be possessed by Gypsum itself, or
whether it be transferred, assigned, bartered, exchanged, sold, or otherwise conveyed to any
third party. Gypsum hereby declares and represents that the undersigned is executing this
Release after having received full legal advice as to their rights from their legal counsel.

The Parties agree that they will cooperate with each other at or before the trial call
scheduled for April 26, 2010 to advise the Federal District Court of this Agreement and to

seek a reasonable continuance of the trial, if necessary, in order to allow the filing and entry

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of the dismissal. The Parties agree that they will similarly cooperate with each other
regarding the dismissal of the State Lawsuit.

4. Re-filing of the Lawsuit; Tolling

Notwithstanding the Release contained in paragraph 3 above, Gypsum shall be
permitted to re-file the Federal Lawsuit if within twenty four (24) months after the Adoption,
the Amending Ordinance is repealed, cancelled, voided, amended, or superseded through a
new ordinance by Clark County that prohibits the filing or formal consideration by the BCC
of any Major Project application filed by Gypsum under this Agreement. If such Federal
Lawsuit is re-filed in accordance with this paragraph, the County agrees that all applicable
defenses to the Federal Lawsuit based on the statute of limitations or timeliness will be tolled
from the date of entry of dismissal under paragraph 3 above to the date of such re-filing. So
long as the Amending Ordinance is not repealed, cancelled, voided, amended or superseded
through a new ordinance by Clark County that prohibits the filing or formal consideration by
the BCC of any Major Project application filed by Gypsum under this Agreement, Gypsum
shall have no right to re-file the Federal Lawsuit. If Gypsum should nonetheless attempt to
re-file the Federal Lawsuit in violation of this paragraph: (1) the voluntary dismissal filed
under paragraph 3 shall be treated as if it had been filed with prejudice; (2) the statute of
limitations shall not be tolled as to any such filing, as otherwise provided in this paragraph;
and (3) Gypsum agrees that any such unpermitted Federal Lawsuit shall be subject to
immediate dismissal with Gypsum paying any and all of the County’s fees and costs incurred
in securing such dismissal. Following 24 months of its adoption, if the Amending Ordinance
is not repealed, canceled, voided, amended or superseded through a new ordinance by Clark
County that prohibits the filing or formal consideration by the BCC of a Major Project
application by Gypsum under this Agreement, the dismissal without prejudice of the Federal
Lawsuit shall immediately and automatically become a dismissal with prejudice.
Notwithstanding the above, in the event Senate Bill 358 is retroactively reinstated by a final
judgment of a court of law, the State of Nevada enacts another law or a court of law issues
an order that prohibits the filing or the acceptance of an application for increased density or
intensity on the Property, then Gypsum shall not be permitted to refile the Federal Lawsuit
against Clark County. The County agrees that it shall not be a party in opposition to

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Gypsum in any action in a court of law that seeks prohibition of a filing or which seeks to
prevent the acceptance of an application for increased density or intensity on the Property.

With regard to the State Lawsuit, the Parties agree that the State Lawsuit shall be
dismissed with prejudice within five (5) business days of the effective date of the Amending
Ordinance. Upon the filing of a dismissal with prejudice of the State Lawsuit, the County
hereby waives any right to claim the defenses of res judicata or collateral estoppel on any
future claim that may be filed in the Federal Lawsuit during the 24-month period specified in
this Section and only if the Federal Lawsuit is properly before the Court on the grounds that
the County repealed, cancelled, voided, amended or superseded the Amending Ordinance
through a new ordinance that prohibits the filing or formal consideration by the BCC of any
Major Project application filed by Gypsum under this Agreement.

5. The Major Project Application

The Parties acknowledge that, after the Adoption of the Amending Ordinance and
the approval of this Agreement, Gypsum intends to submit a Major Project application for
the development of a master planned community pursuant to Chapter 30.20 of the Clark
County Code, and subject to all generally applicable and currently adopted Codes ("the
Major Project Application"). The County and Gypsum acknowledge that the Major Project
Application may include adjustments, considerations and deviations to take into account the
previous mining activities on the Property. The County agrees that it will process the Major
Project Application under the Major Projects process in good faith. Gypsum understands
that the County, by this Agreement, cannot and is not committing to approval of any
particular Major Project and/or any particular densities or uses.

6. Transportation and Access

The County and Gypsum recognize that there are significant issues dealing with
access to the Property. The Parties agree that any Major Project Application that seeks
increased density (residential) or intensity (non-residential) must propose a primary access to
and from the East. The County recognizes the challenges faced by the topography of a road
to the East and further recognizes that requests for certain adjustments, considerations, and
deviations will be included as part of the Major Project Application. In no event shall any
request for an adjustment, consideration, or deviation dispense with the requirements herein

that the primary access be taken to and from the East, or that the primary access not connect

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to State Route 159. Although the exact location of the primary access to the East will be
determined during the Major Project Process, the Parties agree that the primary access shall
not connect to State Route 159. The Parties agree that Gypsum may only take permanent
secondary access from State Route 159 for life safety purposes. For purposes of this
Agreement, “life safety purposes” means access that is closed to daily vehicular traffic, but
that may be utilized by police, fire or emergency services, or by the general public in the
event of an emergency. Subject to approvals and conditions that may be required by any
government entity having jurisdiction over such access issues and roadways, the Parties also
agree that Gypsum may utilize access from State Route 159 for temporary purposes during
construction of the initial phase of development of any approved Major Project in
accordance with conditions, including without limitation conditions relating to the duration
of such use, established by the County during the Major Project process. Gypsum
acknowledges that the County is not obligated under this Agreement to acquire and pay for
property so as to allow for or facilitate access to the Property.

7. Exchange Properties.

The County acknowledges that Gypsum will apply for a land exchange or
exchanges as the case may be, so the existing Property inside the boundaries of the Red
Rock Canyon National Conservation Area (“RRCNCA”) will be exchanged for land outside
of the RRCNCA. The intent herein is to exchange property Gypsum owns inside the
RRCNCA for property that is outside of such area, so that ultimately none of Gypsum’s
property will be in the RRCNCA when the exchange(s) is completed. The intent herein is
also to prevent future development of the Property within the RRCNCA by limiting the
actual development to the identified Exception Area. If the County within its absolute and
sole discretion is in favor of a proposed land exchange(s) between Gypsum and BLM for the
Property inside the boundaries of the RRCNCA, then the County agrees to provide a letter in
support of the exchange(s). In no event is the County making any representation or
guarantee that the County will be in favor of such an exchange(s) or that such exchange(s)
will be approved by the Bureau of Land Management.

8. No Third-Party Beneficiary
The State is not a party to this Agreement, and nothing in this Agreement shall

have any effect on Gypsum's claims against the State in the Lawsuits. The Parties do not
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intend to confer any rights whatsoever (including, but not limited to, rights as a third-party
beneficiary) on the State or any other persons, parties, or entities who are not among the
Parties to this Agreement. County agrees that it will not provide legal assistance to the State
in the Lawsuits or in any appellate proceedings arising out of the Lawsuits. For the purpose
of this Agreement, “legal assistance” does not include providing factual information if
specifically requested from the State or testimony by witnesses called or cross-examined by
the State.

9. Miscellaneous Provisions

A. The Parties have each had the opportunity to draft, review, and edit the
language of this Agreement. Accordingly, no presumption for or against any of the Parties
arising out of the drafting of any part or all of this Agreement will be applied in any action
related to, connected to, or involving this Agreement.

B, The Parties agree to execute and deliver such additional documents and
instruments, and to perform such additional acts, as may be necessary or appropriate to
effectuate, consummate, or perform any of the terms, provisions, or conditions of this
Agreement.

C. This Agreement, and its construction, validity, performance, and effect
shall be governed by the laws of the State of Nevada, applicable to contracts executed and
wholly to be performed therein, The Parties stipulate that the Federal Court in the State of
Nevada may retain jurisdiction over any future action to enforce or interpret the terms of this
Agreement.

D. — This Agreement shall be binding upon and inure to the benefit of, each of
the Parties and their representatives, successors, grantees, and assigns.

E. The Parties expressly acknowledge that the effect and import of this
Agreement, including all rights and obligations under it, have been fully explained to them
by their own counsel.

F, The Parties shall bear their own attorneys' fees and costs incurred in
connection with the prosecution or defense of the Lawsuits. In any action arising out of the
performance under or interpretation of this Agreement, the prevailing party shall be entitled

to recover its attorneys' fees.

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G. The Parties acknowledge that none of them, nor any agent or attorney of
any of them, has made any promise, representation or warranty whatsoever, express,
implied, or statutory, not contained in this Agreement, concerning the subject matter of this
Agreement, to induce the execution of this Agreement, and the Parties further acknowledge
that they have not executed this Agreement in reliance on any such promise, representation,
or warranty. This Agreement contains the entire agreement between the Parties on the
subject matter contained herein, and is the final and exclusive statement of all the
agreements, conditions, promises, representations, and covenants between the Parties with
respect to the subject matter of this Agreement. This Agreement may not be modified except
by a writing duly executed by all of the Parties. .

H. All required corporate, entity, or governmental approvals to enter into and
perform this Agreement have been duly obtained by the Parties. All of the Parties have the
authority to enter into and perform this Agreement, and each of the signatories to this
Agreement is fully authorized to sign for, and to bind, the Parties to this Agreement for
whom they are signing.

I. The headings used in this Agreement are solely for the convenience of the
Parties and are not intended to have any independent meaning. The headings shall not
modify in any way, or be used to interpret, any of the terms of this Agreement.

J. This Agreement may be executed in any number of counterparts, each of
which when so executed shall be deemed to be an original and all of which taken together
shall constitute one and the same Agreement. One or more executed counterparts of this
Agreement may be delivered by fax or by email attachment, with the intention that they shall
have the same effect as an original counterpart.

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K. This Agreement is the compromise of disputed claims and shall not be
construed as an admission of liability on the part of any Party. The Parties hereto, by this
Agreement or otherwise, do not admit liability, legality, impropriety or wrongdoing of any
kind.

L. The Parties agree that either Party may record this Agreement against the
property

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Dated: apa 2010 COUNTY OF CLARK
a Political Subdivision of the State of
Nevada
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Dated: April, 2010 BOARD OF COMMISSIONERS OF THE
Its: x Chir man
Dated: ha 2010 DAVID ROGER,
in his official capacity as District Attorney
Approved as to form by:
D OGER, District Attorney
By: OW ey
ROBERT T. WARHOLA
Attorney for County of Clark, Board of Commissioners
of the County of Clark, and David Roger, in his official
capacity as District Attorney of the County of Clark
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Dated: April 23, 2010 GYPSUM RESOURCES, LLC 7
a Nevada limited ability company
By: Trackee Springs Holdings, Inc.
a Nevada corporation
Its: Manager

By: JG (EL

Its; LL Fires.

Approved as to form by:
MANATT, PHELPS & PHILLIPS

    
  

WARD G, BU.

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Attorneys for Gypsum Resources, LLC

ORDER

 

The Parties' foregoing Stipulation and Settlement Agreement Pursuant to Court
Ordered Settlement Conference is hereby approved, accepted, and adopted as the order of

this Court.
Pursuant to paragraph 9(C) above, the Court hereby retains jurisdiction over any

future action to enforce or interpret the terms of this Agreement.

 

HON, ROBERT C. JONES
United States District Judge

DATED:

 

 
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Dated: April ___, 2010 GYPSUM RESOURCES, LLC
a Nevada limited liability company
By: Truckee Springs Holdings, Inc.
a Nevada corporation
Its: Manager

 

 

 

By:
Its:
Approved as to form by:
MANATT, PHELPS & PHILLIPS
By:
EDWARD G. BURG
Attomeys for Gypsum Resources, LLC
ORDER

this Court.

future action to enforce or interpret the terms of this Agreement.

The Parties' foregoing Stipulation and Settlement Agreement Pursuant to Court

Ordered Settlement Conference is hereby approved, accepted, and adopted as the order of

Pursuant to paragraph 9(C) above, the Court hereby retains jurisdiction over any

 

HON. ROBERT C. JONES
United States District Judge

DATED;

 

 

 

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EXHIBIT A
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Proposed Overlay District
Exception Area
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EXHIBIT B
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CLARK COUNTY BOARD OF COMMISSIONERS |
ZONING / SUBDIVISIONS / LAND USE

 

ISSUE: Amendment To The Red Rock Design Overlay District

 

PETITIONER: David Roger, District Attorney

RECOMMENDATION: | That the Board of County Commissioners consider an ordinance to
amend the Red Rock Design Overlay District to create an exception
that would remove Major Projects on specified land adjacent to but
outside the boundaries of the Red Rock Canyon National
Conservation Area from the Red Rock Design Overlay District
regulations; and direct staff accordingly.

 

 

 

 

 

 

AGENDA ITEM (orp-0210-10) |

 

 

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FISCAL IMPACT: None.
SPONSOR:
BACKGROUND:

In May of 2003, Clark County adopted an ordinance (Ordinance 2914) that prohibited the acceptance of Iand use applications for
increased density or intensity within the Red Rock Overlay District. Ordinance 2914 paralleled legislation adopted by the State of
Nevada (SB 358) around the same time period which similarly prohibited Clark County from accepting land use applications seeking
to increase density or intensity on property within the Red Rock Design Overlay District.

In 2005, Plaintiff Gypsum Resources, LLC (“Owner”), the Owner of approximately 2,400 acres of land within the Overlay District,
sued Clark County in Federal District Court alleging Ordinance 2914 violated equal protection, procedural and substantive due
process and constituted a taking of Gypsum’s property without the payment of just compensation. Through the course of the
litigation, Clark County was successful in convincing the Court to dismiss three of the four claims against it, including the takings
claim. However, the equal protection claim asserted by the Owner has not been dismissed — trial is scheduled to commence the week
of May 3, 2010. In the meantime, the Court struck down the parallel legislation enacted by the State (SB 358). The State of Nevada
is in the process of appealing the Court’s decision.

Recently, the parties were required to participate in a Court mediated mandatory settlement conference. The parties met multiple
times and ultimately arrived at a potential resolution whereby the Owner would dismiss its case and forgo attorney fees and costs
against Clark County. In return, Clark County would amend its Red Rock Design Overlay District regulations to allow the
acceptance and review of a Major Project application within the exception area. Accordingly, the District Attorney’s Office offers
this amendment, to create an exception to Clark County’s Red Rock Design Overlay District regulations for a Major Project on
specified land adjacent to but outside the boundaries of the Red Rock Canyon National Conservation Area, in an effort to achieve
settlement of the case,

The District Attorney’s Office recommends approval of the Ordinance to amend the Red Rock Design Overlay District regulations.

Respectfully Submitted,

RNa,

DAVID ROGER, District Attomey

RTW\pv

35.1
35.2

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[Bracketed] and/or-stikethrough material is that portion being deleted or amended
Underlined material is that portion being added

BILL NO. 3-17-10-1

SUMMARY - An Ordinance to amend the Unified
Development Code delineating an exception to
the Red Rock Overlay District. (ORD-0210-10)

ORDINANCE NO.

 

(of Clark County, Nevada)

AN ORDINANCE TO AMEND TITLE 30, CHAPTER 30.48, ADDING A
NEW SECTION 30.48.312 DELINEATING AN EXCEPTION TO THE
RED ROCK OVERLAY DISTRICT AND PROVIDING FOR OTHER
MATTERS PROPERLY RELATED THERETO.

THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF CLARK, STATE OF
NEVADA, DOES HEREBY ORDAIN AS FOLLOWS:

SECTION 1. Title 30, Chapter 30.48, Adding a New Section 30.48.312, of the Clark County Code
is hereby amended to read as follows:

30.48.310

30.48.312

30.48.315

Establishment of Overlay District. This overlay district may be established and/or expanded by the

initiation and adoption of an ordinance and map describing the boundaries therein. (Ord. 2914 § 3 (part),
112003)

Exception to the Red Rock Design Overlay District. The Red Rock Design Overlay District
Overlay) shal] not apply to Major Projects pursuant to Chapter 30.20 on properties outside of the

 

boundaries of the Red Rock Canyon National Conservation Area within the following described
Sections: :
1. Township 21 South, Range 58 East, MDM: the East Half of Sections 25 and 36.

2. Township 21 South, Range 59. East, MDM Sections 29, 30, 31 and 32 the South half of Section
20 and the West half of 28 and 33.
3. Township 22 South, Range 59 East, MDM Section 5 and the West half of Section 4.

Density & Intensity Restrictions. Unless proposed for public facilities, land use applications shall
not be accepted for the following:

a. Any request to increase the number of residential dwelling units allowed by the zoning regulations
in existence on the effective date of this ordinance unless the increase can be accomplished by the
trading of development credits (or similar mechanism) that would allow a greater number of
residential dwelling units to be constructed in an area without increasing the overall density of
residential dwelling units in that area.

b. Any request to establish a new nonresidential zoning district, except for public facilities.

c. Any request to expand the size of any nonresidential zoning district in existence on the effective
date of this ordinance.

d. Exception: The density and intensity restrictions herein described shall not apply to properties
located within the following described Sections within Township 22 South, Range 59 East:
Sections 13, 14, 15, 16, 21, 22, 23, and 24. (Ord. 2914 § 3 (part), 7/2003)
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SECTION 2. _ If any section of this ordinance or portion of thereof is for any reason held invalid or
unconstitutional by any court of competent jurisdiction, such holding shall not invalidate the remaining
parts of this ordinance.

SECTION 3. All ordinances, parts of ordinances, chapters, sections, subsections, clauses, phrases or
sentences contained in the Clark County Code in conflict herewith are hereby repealed.

SECTION 4. This ordinance shail take effect and be in force from and after its passage and the
publication thereof by title only, together with names of the County Commissioners voting for or against its
passage, in a newspaper published in and having a general circulation in Clark County, Nevada, at least
once a week for a period of two (2) weeks; on __ 5/17/10. A land use application approved prior to the
effective date of this ordinance may be developed per the plans approved with the application.

PROPOSED on the _l7thday of March 2010
PROPOSED By: ___Rory Reid

PASSED on the day of. , 2010
VOTE:
AYES:

 

 

 

 

 

 

 

NAYS:

 

 

 

 

ABSTAINING:

 

 

 

ABSENT:

 

 

 

BOARD OF COUNTY COMMISSIONERS
CLARK COUNTY, NEVADA

 

 

By
Chair
ATTEST: |
DIANA ALBA, County Clerk
This ordinance shail be in force and effect from and after the day of , 2010.

35.3
